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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION


COMPUTEREASE SOFTWARE, INC.,                  :    Case No. 06-cv-247
                                              :
         Plaintiff,                           :    Magistrate Judge Timothy S. Black
                                              :
                                              :
vs.                                           :
                                              :
HEMISPHERE CORPORATION, et al.,               :
                                              :
         Defendants.                          :    ORDER


         This civil action is before the Court on defendant Hemisphere Management, LLC’s

motion to dismiss plaintiff’s complaint for lack of jurisdiction (doc. 13) and motion for a

more definite statement (doc. 14), and the parties responsive memoranda (docs. 16, 17,

18). The parties have consented to disposition by the United States Magistrate Judge

pursuant to 28 U.S.C. § 636(c). (See Doc. 32.)

                                              I.

         On December 13, 2006, the Court granted plaintiff’s motion for leave to file

second amended complaint. (Doc. 41.) Thereafter on January 11, 2007, plaintiff filed its

second amended complaint. (Doc. 42). Defendants’ answer and counterclaim was filed

on January 27, 2007. (Doc. 43.)

                                             II.

         Plaintiff’s second amended complaint supersedes the original complaint and is the

“legally operative complaint” in this matter. Scuba v. Wilkinson, No. 1:06CV160, 2006
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WL 2794939, *2 (S.D. Ohio Sept. 27, 2006) (citing Parry v. Mohawk Motors of Mich.,

Inc., 236 F.3d 299, 306 (6th Cir.2000), cert. denied, 533 U.S. 951, 121 S.Ct. 2594, 150

L.Ed.2d 752 (2001)). Since the amended complaint replaces the original complaint, the

motion to dismiss the original complaint is moot (Scuba, 2006 WL 2794939, *2); as is the

motion for a more definite statement. See Colin v. Marconi Commerce Systems

Employees' Retirement Plan, 335 F.Supp.2d 590, 614 (M.D.N.C. 2004) (Plaintiffs’ filing

of the Second Amended Complaint rendered moot Defendants’ Motion for a More

Definite Statement).

                                           III.

      Therefore, defendant’s motion to dismiss the original complaint (doc. 13) and

motion for a more definite statement (doc. 14) are hereby DENIED as MOOT.

      IT IS SO ORDERED.


Date: March 19, 2007                                   s/Timothy S. Black
                                                       Timothy S. Black
                                                       United States Magistrate Judge




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